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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 DEMOCRACY FORWARD FOUNDATION,                     )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )
                                                            Civil Action No. 20-0570 (RDM)
                                                   )
 U.S. DEPARTMENT OF HEALTH AND                     )
 HUMAN SERVICES,                                   )
                                                   )
                Defendant.                         )
                                                   )

                                  JOINT STATUS REPORT

       Defendant, the U.S. Department of Health and Human Services (“HHS”), and Plaintiff,

Democracy Forward Foundation, by and through their respective undersigned counsel,

respectfully submit this Joint Status Report, pursuant to the Court’s Minute Entry of June 26, 2020,

to provide the Court with an update on this Freedom of Information Act case.

       HHS made its seventeenth interim release on October 15, 2021, after having processed 500

pages, with all pages released in their entirety. HHS’s processing continues on pace and it foresees

no issues meeting its next monthly target.

       Pursuant to the Court’s June 26, 2020 Minute Entry, the parties will submit another joint

status report by November 30, 2021.
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Respectfully submitted,

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Dated: October 29, 2021




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